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U.S. District Court for the Northern District Of illinois
Attorney Appearance Form

 

case Ticle; Overwe" Harvesf Limited case Number: 1:17-¢\/-06086
v.Widerhorn, et al.

An appearance is hereby filed by the undersigned as attorney for:
Defendants David Widerhorn and Pau| Giedraitis

Attorney name (type or print): l\/lichael J. Nevi|le
Firm: Fox Rothschi|d LLP

Street address: 353 N.y Clark - Suite 3650
Cify/State/Zip: chicago, illinois 60654

Bar ID Number: 6300421 Te|ephone Number: 312-517-9226
(See item 3 in instructions)

Email Address: mneville@foxrothschild.com

Are you acting as lead counsel in this case? Yes |:| No
Are you acting as local counsel in this case? \:| Yes No
Are you a member of the court’s trial bar? |:| Yes No

lf this case reaches tria|, Wil| you act as the trial attorney? Yes |:| No

lf this is a criminal case, check your status. \:| Retained Counsel

|:| Appointed Counsel
|f appointed counsel, are you

|:\ Federal Defender
|:]cJA Panel Attorney

 

ln order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
l declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on August 24, 2017

Attorney signature: S/ \VliCha€| J. Nevi||e
(Use electronic signature if the appearance form is filed electronically.)

Revised 811/2015

